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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


UNITED STATES OF AMERICA


       V.



ALI AL-TIMIMI,                                          l:04-cr-385 (LMB)

              Defendant.


                                            ORDER


       In light of the remand from the Court of Appeals, it is hereby

       ORDERED that the parties meet and confer to select a mutually agreeable date for a

hearing on the issues raised in Al-Timimi's Motion for Remand, or, in the Alternative, an Order

Allowing the Inclusion of the FBI Document. The Court is available for a hearing any time on

Wednesday, August 12 and Thursday, August 13, 2015; at 9:30 a.m. on Friday, August 14, 2015;

any time on Thursday, August 27, 2015; or at 9:00 a.m. on Friday, August 28, 2015.

       The Clerk is directed to forward copies of this Order to counsel of record.

       Entered this w day of August, 2015.

Alexandria, Virginia


                                                                            N//
                                                            Leoi'iie M. Brinkema
                                                            United States District Judge
